       Case 2:22-cv-00847-JCM-DJA Document 9 Filed 07/07/22 Page 1 of 2




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 6
                                   UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF NEVADA
 8
 9    NEBYOU SOLOMON, an individual,

10                    Plaintiff,                        Case. No.: 2:22-cv-00847-JCM-DJA
              vs.
11                                                      STIPULATION AND ORDER TO
12                                                      EXTEND PLAINTIFF’S TIME TO
      LAS VEGAS METROPOLITAN POLICE                     AMEND COMPLAINT OR
13    DEPARTMENT; JOSEPH LOMBARDO,an                    OPPOSE DEFENDANTS’ Partial
      individual; DOE OFFICERS I – III,                 MOTION TO DISMISS
14    individuals,
15                                                      (FIRST REQUEST)
                      Defendants.
16
              Pursuant to LR IA 6-1, Plaintiff NEBYOU SOLOMON and Defendants LAS
17
     VEGAS METROPOLITAN POLICE DEPARTMENT and JOSEPH LOMBARDO by and
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     through their respective counsel, hereby stipulate and request that this Court extend the
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     deadline for Plaintiff to file an amended complaint or response in opposition to Defendants’
20
     Partial Motion to Dismiss (ECF No. 4) to be extended from the current deadline of July 1,
21
     2022, by seven (7) days to July 8, 2022.
22
              This Request for an extension of time is not sought for any improper purpose or
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     other purpose of delay. This request for extension is based upon Plaintiff’s counsel’s
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     schedule and the desire to promote judicial efficiency.
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       Case 2:22-cv-00847-JCM-DJA Document 9 Filed 07/07/22 Page 2 of 2




 1            WHEREFORE, the parties respectfully request that this Court order the deadline
 2   extended as stated above.
 3            IT IS SO STIPULATED.
 4
      DATED this 1st day of July, 2022.               DATED this 1st day of July, 2022.
 5
 6   /s/ Margaret A. McLetchie                       /s/ Jackie V. Nichols
     Margaret A. McLetchie, Bar No. 10931            Jackie V. Nichols, Esq.
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     maggie@nvlitigation.com                         Counsel for Defendants
10   Counsel for Plaintiff Nebyou Solomon
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17                                          ORDER
18                                        IT IS SO ORDERED.
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                                          U.S. MAGISTRATE JUDGE
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23                                        DATED:       July 7, 2022

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